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   1   Jeffrey S. Jacobson
       KELLEY DRYE & WARREN LLP
   2   101 Park Avenue
   3   New York, New York 10178
       Telephone: (212) 808-7800
   4   Facsimile: (212) 808-7897
       jjacobson@kelleydrye.com
   5

   6   Kent Brockelman (009627)
       Shelley Tolman (030945)
   7   COPPERSMITH BROCKELMAN PLC
   8   2800 North Central Avenue, Suite 1200
       Phoenix, Arizona 85004
   9   Telephone: (602) 381-5477
       Facsimile: (602) 224-6020
  10
       kbrockelman@cblawyers.com
  11   stolman@cblawyers.com
  12   Attorneys for Defendants Jeunesse, LLC,
  13   Wendy Lewis, Scott Lewis and Ogale Ray

  14

  15                          UNITED STATES DISTRICT COURT

  16                                    DISTRICT OF ARIZONA

  17   James J. Aboltin, individually and on behalf    No. CV-16-02574-PHX-SPL
       of all others similarly situated,
  18
                                                       NOTICE OF FILING AMENDED
                           Plaintiff,                  DECLARATION OF RYAN OGDEN
  19
           v.
  20
       Jeunesse, LLC, aka Jeunesse Global, Inc., a
  21   Florida limited liability company, Wendy R.
       Lewis, an individual, Ogale “Randy” Ray, an
  22   individual, Scott A. Lewis, an individual,
       Kim Hui, an individual, Jason Caramanis, an
  23   individual, Alex Morton, an individual, John
       and Jane Does 1-100, individual natural
  24   persons, and ABC Corporations, Companies,
       and/or Partnerships 1-20,
  25

  26                       Defendants.

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       {00263148.1 }
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   1                   Defendants Jeunesse, LLC (“Jeunesse”), Wendy R. Lewis, Scott A. Lewis, and
   2   Ogale Ray (“Moving Defendants”) based their pending Motion to Transfer Venue to
   3   Middle District of Florida on (1) a contractual forum-selection clause, and (2) a
   4   traditional analysis under 28 U.S.C. § 1404(a) assessing whether Arizona or Florida best
   5   serves the convenience of the parties and witnesses and the interests of justice. These
   6   arguments are entirely independent of one another and are made in the alternative.
   7                   In support of both arguments, Moving Defendants provided a declaration from
   8   Ryan Ogden, Jeunesse’s Chief Financial Officer. With respect to the forum-selection
   9   clause, Mr. Ogden stated that, in order to become a Jeunesse distributor, Plaintiff James J.
  10   Aboltin (“Plaintiff”) necessarily agreed to the terms of three documents that Plaintiff
  11   could read by clicking links on the sign-up page from which Plaintiff electronically
  12   signed his distributorship agreement. Mr. Ogden testified that Plaintiff saw and assented
  13
       to a document setting forth the “Terms and Conditions” applicable to all distributors.
  14
       Declaration of Ryan Ogden ¶ 4. The Terms and Conditions document includes a forum-
  15
       selection clause requiring that legal disputes related to Jeunesse (and not subject to
  16
       arbitration) be litigated in federal or state court in Florida. Id., Ex. A (Paragraph 13).
  17
                       In his opposition to the Motion to Transfer Venue, Plaintiff acknowledged that he
  18
       saw and electronically assented to three documents containing terms and conditions of his
  19
       distributorship. He disputed, however, that the Terms and Conditions document attached
  20
       to Mr. Ogden's declaration was one of them. Mr. Ogden immediately investigated
  21
       Plaintiff’s assertion and determined that Plaintiff is correct. On July 10, 2016, the date on
  22
       which Plaintiff agreed to become a Jeunesse distributor, the Jeunesse website mistakenly
  23
       linked to a document describing the terms and conditions pertaining to Jeunesse’s
  24
       website, not the Terms and Conditions of distributorship. The Terms and Conditions of
  25
       distributorship were posted elsewhere on the Jeunesse website and Plaintiff could have
  26
       viewed that document, but Moving Defendants cannot, at this time, prove that he did.
  27
       The error on Jeunesse's website had been corrected prior to preparation of Mr. Ogden’s
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       {00263148.1 }                                    2
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   1   declaration, and Mr. Ogden was unaware both of the error and its correction; as a result,
   2   he mistakenly believed that distributors who signed up in early July were required to
   3   agree to the same contractual documents put before prospective distributors in
   4   September, when Mr. Ogden prepared his declaration. Amended Declaration of Ryan
   5   Ogden, attached as Exhibit 1, ¶¶ 4-5.
   6                   Moving Defendants agree with Plaintiff [Opposition, p. 5 at fn. 3] that if they
   7   propose to continue relying on the Terms and Conditions document, and its venue clause,
   8   discovery would be required to demonstrate that Plaintiff saw the Terms and Conditions
   9   document and understood that it was part of his agreement with Jeunesse. Moving
  10   Defendants do not propose delaying resolution of the pending Motion to Transfer to
  11   allow for such discovery, and it is not necessary to do so. Moving Defendants have
  12   provided the Court with a wholly independent basis for transfer of this matter to Florida –
  13
       the traditional balancing of convenience to the parties and witnesses – and believe that
  14
       transfer clearly is warranted under this analysis.
  15
                       For the above reasons, Moving Defendants provide Mr. Ogden’s Amended
  16
       Declaration to promptly correct the record, 1 and they apologize to the Court for the error.
  17
       Moving Defendants withdraw, at this time, their argument based on the forum-selection
  18
       provision in the Terms and Conditions document. Their reply memorandum will focus
  19
       solely on whether this Court should transfer this action to the Middle District of Florida
  20
       for the convenience of the parties and witnesses and in the interests of justice.
  21
       Undersigned counsel informed counsel for Plaintiff of Moving Defendants’ intention to
  22
       take these steps in the days before the Thanksgiving holiday.
  23

  24   1
         Plaintiff’s opposition brief suggests that because Jeunesse has a facility in Salt Lake
       City, the District of Arizona is a more convenient forum than the Middle District of
  25
       Florida for the parties and witnesses. To ensure that the record is clear that members of
  26   Jeunesse’s senior leadership team (the employees with knowledge of Jeunesse’s
       compensation and marketing structure that Plaintiff has placed at issue in this case) work
  27   in Florida and not Utah, Mr. Ogden’s Amended Declaration also adds a brief statement,
  28   at paragraph 11, to that effect.

       {00263148.1 }                                    3
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   1                   DATED: November 28, 2016.
   2

   3                                                 KELLEY DRYE & WARREN LLP
   4
                                                     By s/ Jeffrey S. Jacobson
   5                                                    Jeffrey S. Jacobson
   6

   7                                                 COPPERSMITH BROCKELMAN PLC

   8                                                 By s/ Kent Brockelman
                                                        Kent Brockelman
   9
                                                        Shelley Tolman
  10
                                                         Attorneys for Defendants Jeunesse, LLC,
  11                                                     Wendy Lewis, Scott Lewis, and Ogale Ray
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   1                               Certificate of Filing and Service
   2
              Pursuant to the Case Management/Electronic Case Filing Administrative Policies
   3   and Procedures Manual (“CM/ECF Manual”) of the United States District Court for the
       District of Arizona, I hereby certify that on November 28, 2016, my office electronically
   4   transmitted the foregoing Notice of Filing Amended Declaration of Ryan Ogden to the
   5   U.S. District Court clerk’s office for filing.

   6         Pursuant to Section D(2) of the CM/ECF Manual, a Notice of Electronic Filing
       should be sent to the assigned judge and counsel of record:
   7

   8   David N. Ferrucci
       Jonathan S. Batchelor
   9   David G. Bray
  10
       DICKINSON WRIGHT PLLC
       1850 North Central Avenue, Suite 1400
  11   Phoenix, Arizona 85004
       Attorneys for Plaintiff
  12

  13   David Griffith Eisenstein
       LAW OFFICES OF DAVID G. EISENSTEIN PC
  14   4027 Aidan Circle
       Carlsbad, California 92008
  15
       Attorneys for Defendant Alex Morton
  16

  17   /s/ Kent Brockelman
  18

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       {00263148.1 }                            5
